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                 EXHIBIT 4
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     Official Website of the Department of Homeland Security




Report Crimes: Email or Call 1­866­DHS­2­ICE


   Secure Communities
ERO
           History   Archived
                     Information


Secure Communities was an immigration enforcement program administered by U.S. Immigration and
Customs Enforcement (ICE) from 2008 to 2014.

The program was replaced by Priority Enforcement Program (PEP) in July 2015.

For more on Secure Communities, see “Archived information” above.

Learn more about PEP →




https://www.ice.gov/secure­communities                                                           1/1
